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EXHIBIT 3
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Expert Opinion of John L. Saulino

May 20, 2013

Georgia Operators Self-Insurers Fund v. PMA Management Corp.
United States District Court
For The District of Georgia

Atlanta Division

Case No. 2012CV217188
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Background

L have been requested by Drew Eckl & Farnham LLP, counsel for PMA Management Corp. (PMAMC)
to provide opinions and potential expert testimony regarding PMAMC’s involvement regarding
Workers’ Compensation claims handled under a Third Party Claims Administration Agreement (TPA
Agreement) between PMAMC and Georgia Operators Self-Insurers Fund (GAOSIF).

I have more than 40 years of experience in the insurance industry, having had substantial claims
responsibilities with Liberty Mutual Insurance Company, Home Insurance Company, North Star
Reinsurance Corporation, Reliance and Reliance National Insurance Companies, and Elliston, Inc. A
list of my credentials is included in my curriculum vitae attached as Exhibit I.

1 am being compensated at a rate of $350 per hour plus expenses for my study and any testimony in
this matter. I have published one article in the past ten years. In the last four years I have testified as
an expert in several matters. A list setting forth my article and testimony is attached as Exhibit I.

In the instant matter, I have been provided with and reviewed various documents, listed in Exhibit III.
In addition, I have drawn upon my experience and training as a claims professional in the insurance
industry in coming to my opinions.
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RMG Conclusions

In essence, the McCoy reports, in my opinion, fail to acknowledge that PMAMC followed the
instructions of its self-insured clients who dictate how the claims are adjusted, both in terms of a
written TPA contract with PMAMC and on a day-to-day basis in administering the GAOSIF program.
Further, each report failed to attribute criticism of the claims adjustment being attributable to any
actions of GAOSIF.

Moreover, the standards applied by McCoy are strict Best Practices Standards with which PMAMC
did not contractually agree to comply and otherwise should not be held accountable to. Best Practices
Standards are not appropriate to measure potential damages or actual damages. Rather, PMAMC
should be held to a Usual Custom and Practice in the Industry Standard.

When applying Usual Custom and Practice Standards to the GAOSIF claims at issue, McCoy grossly
overstated GAOSIF’s alleged damages. My study indicates that a proper analysis of any potential
damage is limited to $111,224. The rationale for my findings is more fully explained and documented
in the individual Tracking Sheets and Audit Sheets which provide a “side by side” review and response
to McCoy’s file reviews. Both of these documents are attached as Exhibit XVI and Exhibit XVII to
this report and are identified in my Summary below. This report is a synopsis of why I found
McCoy’s findings to be in error.

I provide my conclusion by utilizing my years of industry experience and review of the disputed files.

My opinions and conclusions are set forth herein and given with certainty. I am willing and able to
testify to these opinions and conclusions.

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Summary

A review of claims files for the purpose of attempting to measure a financial “lost opportunity” is a
difficult process. Any such exercise is usually attempted as an internal review of a company’s
handling in order to identify weaknesses and enact improved protocols to assist in bettering the
“bottom line.” Under these circumstances, a carrier or TPA understands its own internal workings and
standards and is in an excellent position to “judge itself.”

When this process is performed by an outside auditor on a facility like PMAMC, as McCoy attempted
to do in McCoy IL, the auditor must first understand the program, interaction, and responsibilities
among the parties involved. In this instance, there are three major participants - GAOSIF (including
the broker and numerous franchisees); GB -the prior TPA; and PMAMC). In my opinion, McCoy must
take their roles and interaction into consideration before attempting to make any judgment. Further,
McCoy must use a standard of measurement that assesses what is reasonable under the specific
circumstances involved. McCoy’s failure to document his adherence to this understanding before
embarking on the project and more importantly, his lack of attributing responsibility among all the
actors involved, render his report biased and unreasonable.

For all of the reasons noted in this report, I believe the findings in McCoy II are grossly overstated. |
leave it to the reader to determine whether there is any correlation to the almost exact dollar finding
from the projected damages in McCoy I to the alleged damages found in McCoy II, but suggest there is
no coincidence; it is suspected the aforementioned projected and alleged damages were (and remain) a
pre-determined and desired artificial figure.

RMG finds legitimate errors amounting to overpayment on these files totaling a maximum of
$111,224. A recording of each of RMG’s agreed overpayments by file number, issue, and amount is
included in Exhibit V.

In addition, RMG’s two file review documents, with individual file recordings of findings and dollar
amounts, Tracking Sheets (Exhibit XVJ) and Claim Audit Forms with financial summary (Exhibit
XVII), can be found in our Exhibit List.

Respectfully submitted,

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fe yf

nL. Saulino

   
 

Principal

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